[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION RE HEARING IN DAMAGES
Plaintiff was discharged from his employment with defendant corporation for filing a worker's compensation claim. He brings this action under C.G. S. § 31-290a.
From March 18, 1991 to January 6, 1992 plaintiff is owed back pay of $39,974.76 less $6,750 paid to him as unemployment compensation for a net of $33,224.76. CT Page 4225-II
From January 6, 1992 to September 6, 1992 plaintiff is owed back pay of $9,920.
The total net back pay owed him is $43,144.76. This entire amount is subject to federal income tax and FICA. The court does not know if it is subject to the State of Connecticut income tax.
The estimate of the federal tax due is 14.73% or $6,355.22. The estimate of the FICA due is 7.509% or $3,240.17. Thus, a total of at least $9,595.39 will be taken from this judgment leaving a net back pay for plaintiff of $33,549.37.
Attorneys fees are allowed in the amount of $6,709.87.
Judgment for plaintiff of $49,854.63.
N. O'Neill, J.